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                    CERTIFICATION OF NAMED PLAINTIFF
                  PURSUANT TO FEDERAL SECURITIES LAWS

       SPENCER R. BUENO (“Plaintiff”) declares:
       1.      Plaintiff has reviewed a complaint and authorized its filing.
       2.      Plaintiff did not acquire the security that is the subject of this action at
the direction of plaintiff’s counsel or in order to participate in this private action or
any other litigation under the federal securities laws.
       3.      Plaintiff is willing to serve as a representative party on behalf of the
class, including providing testimony at deposition and trial, if necessary.
       4.      Plaintiff has made the following transaction(s) during the Class Period in
the securities that are the subject of this action:
Security                 Transaction                  Date                 Price Per Share

                                   See attached Schedule A.

       5.      Plaintiff has not sought to serve or served as a representative party in a
class action that was filed under the federal securities laws within the three-year period
prior to the date of this Certification except as detailed below:
                                             None.
       6.      Plaintiff will not accept any payment for serving as a representative
party on behalf of the class beyond the Plaintiff’s pro rata share of any recovery,
except such reasonable costs and expenses (including lost wages) directly relating
to the representation of the class as ordered or approved by the court.
       I declare under penalty of perjury that the foregoing is true and correct.
Executed this ____
               4th day of April, 2018.




                                                             SPENCER R. BUENO

                                                                4/4/2018




                                                                                             CBOE
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                              SCHEDULE A

                        SECURITIES TRANSACTIONS

VIX Options

    Date                        Type/Amount of
  Acquired                      Options Acquired                 Price

 04/01/2014                 (VIX 04/16/2014 14.00 C)10           $1.00
 04/01/2014                  (VIX 05/21/2014 16.00 C)5           $1.20
 04/10/2014                 (VIX 05/21/2014 20.00 C)10           $0.75
 04/17/2014                  (VIX 05/21/2014 18.00 C)5           $0.70
 05/02/2014                 (VIX 05/21/2014 14.00 C)10           $1.20
 05/21/2014                 (VIX 06/18/2014 20.00 C)10           $0.25
 07/01/2014                  (VIX 10/22/2014 18.00 C)5           $1.07
 07/01/2014                 (VIX 10/22/2014 18.00 C)10           $1.10
 07/29/2014                 (VIX 09/17/2014 20.00 C)10           $0.54
 08/01/2014                  (VIX 09/17/2014 20.00 C)5           $0.81
 08/08/2014                 (VIX 08/20/2014 16.00 C)10           $1.20
 08/14/2014                 (VIX 09/17/2014 17.00 C)20           $0.72
 08/14/2014                  (VIX 09/17/2014 19.00 C)5           $0.47
 01/30/2015                 (VIX 02/18/2015 28.00 C)10           $1.00
 04/13/2015                  (VIX 05/20/2015 20.00 C)1           $0.60
 04/13/2015                  (VIX 06/17/2015 23.00 C)3           $0.75
 04/21/2015                  (VIX 06/17/2015 18.00 C)2           $1.40
 04/23/2015                  (VIX 06/17/2015 20.00 C)2           $1.05
 04/28/2015                  (VIX 06/17/2015 20.00 C)2           $0.95
 04/30/2015                  (VIX 05/20/2015 20.00 C)2           $0.56
 04/30/2015                  (VIX 05/20/2015 21.00 C)1           $0.50
 05/01/2015                  (VIX 05/20/2015 14.00 C)5           $1.70
 05/01/2015                  (VIX 05/20/2015 14.00 C)5           $1.25
 05/01/2015                  (VIX 05/20/2015 18.00 C)7           $0.50
 05/01/2015                  (VIX 05/20/2015 18.00 C)8           $0.50
 05/04/2015                  (VIX 05/20/2015 14.00 C)5           $1.10
 05/06/2015                  (VIX 05/20/2015 30.00 C)1           $0.10
 05/07/2015                  (VIX 05/20/2015 18.00 C)2           $0.85
 05/08/2015                  (VIX 05/20/2015 14.00 C)2           $0.99
 05/19/2015                  (VIX 06/17/2015 20.00 C)3           $0.50
 05/21/2015                  (VIX 06/17/2015 20.00 C)4           $0.40
 06/03/2015                  (VIX 06/17/2015 20.00 C)6           $0.27
 07/10/2015                  (VIX 07/22/2015 20.00 C)1           $0.90
 07/10/2015                  (VIX 07/22/2015 20.00 C)1           $0.90
 07/10/2015                  (VIX 07/22/2015 25.00 C)5           $0.53
 07/20/2015                  (VIX 08/19/2015 15.00 C)5           $1.05
 07/21/2015                  (VIX 08/19/2015 15.00 C)2           $1.04
 07/30/2015                  (VIX 09/16/2015 16.00 C)3           $1.50
 07/30/2015                 (VIX 09/16/2015 16.00 C)10           $1.50
 08/05/2015                  (VIX 09/16/2015 12.00 C)1           $2.96
 08/05/2015                  (VIX 09/16/2015 16.00 C)2           $1.15
 08/20/2015                  (VIX 09/16/2015 22.00 C)1           $0.75
 08/20/2015                  (VIX 09/16/2015 22.00 C)3           $0.75
 08/31/2015                  (VIX 09/16/2015 45.00 C)2           $0.34
 09/16/2015                  (VIX 10/21/2015 30.00 C)7           $0.95
 09/30/2015                 (VIX 10/21/2015 30.00 C)12           $0.99
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    Date                       Type/Amount of
  Acquired                     Options Acquired                  Price

 11/16/2015                  (VIX 12/16/2015 28.00 C)2           $0.70
 12/22/2015                  (VIX 01/20/2016 20.00 C)5           $1.75
 12/22/2015                  (VIX 12/23/2015 18.00 C)1           $0.25
 01/05/2016                  (VIX 01/13/2016 30.00 C)1           $0.35
 01/07/2016                  (VIX 02/17/2016 25.00 C)3           $1.95
 01/07/2016                  (VIX 02/17/2016 25.00 C)3           $1.79
 01/11/2016                  (VIX 02/17/2016 25.00 C)5           $2.42
 01/12/2016                  (VIX 01/27/2016 25.00 C)1           $1.60
 01/12/2016                  (VIX 02/17/2016 25.00 C)5           $1.90
 01/20/2016                  (VIX 02/17/2016 25.00 C)2           $3.76
 01/20/2016                  (VIX 02/17/2016 25.00 C)5           $3.85
 01/21/2016                  (VIX 02/17/2016 25.00 C)2           $2.80
 01/21/2016                  (VIX 02/17/2016 25.00 C)3           $2.85
 01/21/2016                  (VIX 02/17/2016 25.00 C)3           $3.30
 01/21/2016                  (VIX 02/17/2016 25.00 C)5           $3.30
 01/21/2016                  (VIX 02/17/2016 25.00 C)5           $3.00
 01/25/2016                  (VIX 02/17/2016 25.00 C)5           $1.90
 02/22/2016                  (VIX 03/16/2016 26.00 C)3           $0.90
 03/09/2016                  (VIX 04/20/2016 21.00 C)1           $2.25
 03/22/2016                 (VIX 05/18/2016 20.00 C)10           $1.75
 03/23/2016                  (VIX 03/30/2016 23.00 C)6           $0.10
 06/22/2016                  (VIX 07/06/2016 18.00 C)1           $1.95
 06/29/2016                  (VIX 07/06/2016 23.00 C)8           $0.15
 07/07/2016                  (VIX 07/13/2016 21.00 C)5           $0.10
 07/15/2016                  (VIX 08/17/2016 18.00 C)7           $1.15
 08/16/2016                  (VIX 09/21/2016 25.00 C)1           $0.45
 09/19/2016                 (VIX 11/16/2016 18.00 C)50           $2.50
 09/20/2016                 (VIX 09/28/2016 22.00 C)20           $0.30
 09/23/2016                  (VIX 09/28/2016 22.00 C)2           $0.05
 10/19/2016                (VIX 11/16/2016 25.00 C)100           $0.44
 10/31/2016                 (VIX 12/21/2016 20.00 C)40           $1.50
 11/07/2016                 (VIX 12/21/2016 20.00 C)20           $1.57
 12/19/2016                (VIX 01/18/2017 19.00 C)100           $0.70
 12/21/2016                (VIX 01/18/2017 19.00 C)150           $0.53
 12/28/2016                 (VIX 01/04/2017 15.00 C)20           $0.30
 12/28/2016                 (VIX 01/04/2017 15.00 C)30           $0.25
 12/30/2016                 (VIX 01/25/2017 25.00 C)30           $0.30
 01/03/2017                (VIX 01/18/2017 19.00 C)100           $0.40
 01/04/2017                 (VIX 01/25/2017 14.00 C)10           $1.10
 01/06/2017                 (VIX 01/25/2017 14.00 C)10           $0.70
 02/14/2017                  (VIX 02/22/2017 15.00 C)1           $0.20
 02/22/2017                 (VIX 03/01/2017 18.00 C)15           $0.05
 03/07/2017                 (VIX 03/22/2017 17.00 C)20           $0.17
 03/07/2017                 (VIX 03/22/2017 17.00 C)30           $0.17
 03/07/2017                 (VIX 04/19/2017 17.00 C)10           $1.03
 03/07/2017                 (VIX 04/19/2017 17.00 C)40           $1.04
 03/15/2017                 (VIX 03/22/2017 17.00 C)10           $0.12
 03/15/2017                 (VIX 03/22/2017 17.00 C)40           $0.13
 03/22/2017                 (VIX 03/29/2017 19.00 C)20           $0.10
 03/22/2017                 (VIX 03/29/2017 19.00 C)30           $0.10
 03/22/2017                 (VIX 04/19/2017 17.00 C)10           $0.65
 03/23/2017                 (VIX 03/29/2017 14.00 C)10           $0.45
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    Date                        Type/Amount of
  Acquired                      Options Acquired                 Price

 03/23/2017                  (VIX 03/29/2017 14.00 C)3           $0.35
 03/23/2017                 (VIX 03/29/2017 14.00 C)22           $0.40
 03/24/2017                  (VIX 03/29/2017 14.00 C)2           $0.30
 03/24/2017                  (VIX 03/29/2017 14.00 C)9           $0.55
 03/24/2017                 (VIX 03/29/2017 14.00 C)40           $0.35
 03/24/2017                  (VIX 03/29/2017 17.00 C)2           $0.15
 03/24/2017                  (VIX 03/29/2017 17.00 C)5           $0.10
 03/24/2017                  (VIX 04/19/2017 15.00 C)5           $1.00
 03/29/2017                 (VIX 06/21/2017 13.00 C)50           $2.45
 03/31/2017                 (VIX 05/17/2017 15.00 C)25           $1.15
 03/31/2017                 (VIX 05/17/2017 15.00 C)50           $1.20
 04/03/2017                 (VIX 04/19/2017 15.00 C)25           $0.50
 04/04/2017                 (VIX 04/12/2017 20.00 C)10           $0.05
 04/11/2017                  (VIX 04/19/2017 19.00 C)1           $0.50
 04/11/2017                  (VIX 05/17/2017 18.00 C)2           $1.20
 04/11/2017                 (VIX 05/17/2017 18.00 C)25           $1.28
 04/12/2017                 (VIX 04/19/2017 16.00 C)10           $1.15
 04/13/2017                 (VIX 05/17/2017 15.00 C)10           $1.95
 04/18/2017                 (VIX 05/17/2017 15.00 C)20           $1.50
 04/18/2017                 (VIX 05/17/2017 15.00 C)25           $1.50
 04/18/2017                 (VIX 05/17/2017 17.00 C)25           $1.00
 04/18/2017                 (VIX 05/17/2017 45.00 C)10           $0.05
 04/19/2017                  (VIX 05/17/2017 15.00 C)5           $1.30
 04/21/2017                  (VIX 04/26/2017 22.00 C)4           $0.10
 04/25/2017                 (VIX 05/17/2017 15.00 C)10           $0.45

    Date                         Type/Amount of
    Sold                          Options Sold                   Price

  5/22/2014A                (VIX 05/21/2014 14.00 C)10           $0.00
  5/22/2014A                 (VIX 05/21/2014 16.00 C)5           $0.00
  5/22/2014A                 (VIX 05/21/2014 18.00 C)5           $0.00
  5/22/2014A                (VIX 05/21/2014 20.00 C)10           $0.00
  6/19/2014A                (VIX 06/18/2014 20.00 C)10           $0.00
  8/21/2014A                (VIX 08/20/2014 16.00 C)10           $0.00
  9/18/2014A                (VIX 09/17/2014 17.00 C)20           $0.00
  9/18/2014A                 (VIX 09/17/2014 19.00 C)5           $0.00
  9/18/2014A                (VIX 09/17/2014 20.00 C)15           $0.00
 12/22/2016A                (VIX 12/21/2016 20.00 C)60           $0.00
   1/5/2017A                (VIX 01/04/2017 15.00 C)50           $0.00
  1/19/2017A               (VIX 01/18/2017 19.00 C)350           $0.00
  1/26/2017A                (VIX 01/25/2017 14.00 C)20           $0.00
  1/26/2017A                (VIX 01/25/2017 25.00 C)30           $0.00
  3/30/2017A                (VIX 03/29/2017 19.00 C)50           $0.00
  4/13/2017A                (VIX 04/12/2017 20.00 C)10           $0.00
  4/20/2017A                 (VIX 04/19/2017 19.00 C)1           $0.00
  4/27/2017A                 (VIX 04/26/2017 22.00 C)4           $0.00
  5/18/2017A               (VIX 05/17/2017 15.00 C)140           $0.00
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    Date                        Type/Amount of
    Sold                         Options Sold                    Price

 5/18/2017A                 (VIX 05/17/2017 17.00 C)25           $0.00
 5/18/2017A                 (VIX 05/17/2017 45.00 C)10           $0.00
 6/22/2017A                 (VIX 06/21/2017 13.00 C)40           $0.00
 04/15/2014                  (VIX 04/16/2014 14.00 C)5           $3.20
 04/17/2014                  (VIX 04/16/2014 14.00 C)5           $0.67
 08/05/2014                  (VIX 10/22/2014 18.00 C)5           $1.90
 10/10/2014                  (VIX 10/22/2014 18.00 C)5           $2.70
 10/15/2014                  (VIX 10/22/2014 18.00 C)1           $6.90
 10/15/2014                  (VIX 10/22/2014 18.00 C)4           $6.90
 01/12/2015                  (VIX 01/21/2015 27.00 C)5           $0.45
 02/05/2015                 (VIX 02/18/2015 28.00 C)10           $0.28
 04/22/2015                  (VIX 06/17/2015 18.00 C)2           $1.35
 04/28/2015                  (VIX 05/20/2015 20.00 C)1           $0.37
 05/06/2015                  (VIX 06/17/2015 20.00 C)1           $1.05
 05/06/2015                  (VIX 06/17/2015 23.00 C)3           $0.75
 05/08/2015                  (VIX 06/17/2015 20.00 C)3           $0.76
 05/11/2015                  (VIX 05/20/2015 18.00 C)7           $0.20
 05/11/2015                 (VIX 05/20/2015 18.00 C)10           $0.25
 05/19/2015                  (VIX 05/20/2015 14.00 C)7           $0.10
 05/19/2015                 (VIX 05/20/2015 14.00 C)10           $0.10
 08/21/2015                  (VIX 09/16/2015 12.00 C)1           $6.60
 08/21/2015                  (VIX 09/16/2015 16.00 C)2           $3.40
 08/21/2015                  (VIX 09/16/2015 16.00 C)3           $2.85
 08/21/2015                 (VIX 09/16/2015 16.00 C)10           $2.75
 08/21/2015                  (VIX 09/16/2015 22.00 C)1           $1.40
 08/21/2015                  (VIX 09/16/2015 22.00 C)1           $1.25
 08/21/2015                  (VIX 09/16/2015 22.00 C)2           $1.40
 09/01/2015                  (VIX 09/16/2015 45.00 C)2           $0.80
 09/28/2015                  (VIX 10/21/2015 30.00 C)2           $1.60
 01/06/2016                  (VIX 01/20/2016 20.00 C)5           $2.05
 01/15/2016                  (VIX 02/17/2016 25.00 C)5           $3.30
 01/15/2016                  (VIX 02/17/2016 25.00 C)6           $3.10
 01/19/2016                  (VIX 01/27/2016 25.00 C)1           $2.30
 02/10/2016                 (VIX 02/17/2016 25.00 C)20           $2.15
 02/11/2016                  (VIX 02/17/2016 25.00 C)5           $3.90
 02/11/2016                  (VIX 02/17/2016 25.00 C)5           $4.20
 06/27/2016                  (VIX 07/06/2016 18.00 C)1           $4.70
 11/01/2016                (VIX 11/16/2016 25.00 C)100           $0.90
 03/15/2017                (VIX 03/22/2017 17.00 C)100           $0.10
 03/24/2017                  (VIX 04/19/2017 15.00 C)1           $1.10
 03/24/2017                  (VIX 04/19/2017 15.00 C)1           $1.10
 03/24/2017                  (VIX 04/19/2017 15.00 C)1           $1.10
 03/24/2017                  (VIX 04/19/2017 15.00 C)1           $1.10
 03/24/2017                  (VIX 04/19/2017 15.00 C)1           $1.10
 03/27/2017                  (VIX 03/29/2017 14.00 C)5           $0.20
 03/27/2017                  (VIX 03/29/2017 14.00 C)7           $0.15
 04/11/2017                 (VIX 04/19/2017 15.00 C)10           $1.40
 04/11/2017                 (VIX 04/19/2017 15.00 C)15           $1.40
 04/11/2017                 (VIX 04/19/2017 17.00 C)60           $0.80
 04/12/2017                  (VIX 05/17/2017 15.00 C)5           $1.85
 04/12/2017                 (VIX 05/17/2017 18.00 C)27           $1.20
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                  Date                         Type/Amount of
                  Sold                          Options Sold                   Price

               04/13/2017                 (VIX 04/19/2017 16.00 C)10           $1.15
               04/21/2017                 (VIX 06/21/2017 13.00 C)10           $2.15

A
    Expired
